Case 5:20-cv-05026-KES Document 55-13 Filed 02/01/23 Page 1 of 1 PagelD #: 374

From: Holtslander, Sally <SHoltslander@hinshawlaw.com>

Sent: Thursday, February 1, 2018 10:29 AM

To: J. Crisman Palmer <cpalmer@gpna.com>; Katelyn A, Cook <katie@gpna. com>; Kristi Wood
<kwood@gpna.com>

€c; Nowak, Conrad C. <cnowak@hinshawlaw.com>; Glazer, Paris Benjamin
<PGlazer@hinshawlaw.com>; Hofert, James M. <jhofert@hinshawlaw.com>

Subject: Leichtnam v. Zurich - Pro Hac Motions

Cris,

Attached please find the motions for pro hac admittance for Jim, Conrad, and Paris.

Sally Holtslander

Hinshaw & Culbertson LLP

222 N. LaSalfe Street, Suite 300, Chicago, IL, 60601
Tel: 312-704-3221 | Fax: 312-704-3001
SHoltslander@hinshawlaw.com | hinshawlaw.com

Hinshaw & Culbertson LLP is an Illinois registered limited liability partnership that has elected to be
governed by the Illinois Uniform Partnership Act (1997).

The contents of this e-mail message and any attachments are intended solely for the addressee{s)
named in this message. This communication is intended to be and to remain confidential and may be
subject to applicable attorney/client and/or work product privileges. If you are not the Intended
recipient of this message, or if this message has been addressed to you in error, please immediately
alert the sender by reply e-mail and then delete this message and Its attachments. Do not deliver,
distribute or copy this message and/or any attachments and if you are not the Intended recipient, do
not disclose the contents or take any action in reliance upon the information contained in this
communication or any attachments.

” EXHIBIT

GPNA011728

63

 

 

 
